                     BEFORE THE UNITED STATES JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION



 IN RE: SHALE OIL ANTITRUST                             MDL NO.
 LITIGATION



                              AMENDED PROOF OF SERVICE

        In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel

 on Multidistrict Litigation, I hereby certify that copies of the forgoing Motion for Transfer,

 Memorandum in Support, Schedule of Actions, and Amended Proof of Service were served by the

 CM/ECF system, email, or first class mail on May 9, 2024 to the following:

Clerks of Court

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  Clerk of Court                                      Clerk of Court
  United States District Court                        United States District Court
  District of Nevada (Las Vegas Division)             District of New Mexico
  333 Las Vegas Blvd. South                           Pete V. Domenici US Court House
  Las Vegas, Nevada 98101                             333 Lomas Blvd NW, Suite 270
                                                      Albuquerque, New Mexico 87102

Matthew E. Foos, et al. v. Permian Resources Corp., et al., Case No. 1:24-cv-00361-MLG-LF

  Served via First Class Mail
  Plaintiffs’ Counsel:

  Warren T. Burns                                     Steven N. Williams
  Daniel H. Charest                                   Kai’Ree K. Howard
  BURNS CHAREST LLP                                   STEVEN WILLIAMS LAW, P.C.
  900 Jackson Street, Suite 500                       201 Spear Street, Suite 1100
  Dallas, TX 75202                                    San Francisco, California 94105
  Telephone.: (469) 904-4550                          Telephone: 415-697-1509
  wburns@burnscharest.com                             swilliams@stevenwilliamslaw.com
  dcharest@burnscharest.com                           khoward@stevenwilliamslaw.com

  Korey Nelson                                        Christopher A. Dodd
  BURNS CHAREST LLP                                   DODD LAW OFFICE, LLC
  365 Canal Street, Suite 1170                        500 Marquette Avenue NW, Suite 1330
  New Orleans, Louisiana 70130                        Albuquerque, New Mexico 87102
  Telephone: (504) 799-7845                           Tel: (505) 475-2932
                                                  1
knelson@burnscharest.com                         chris@doddnm.com

Rex A. Sharp
Isaac L. Diel
W. Greg Wright
Brandon C. Landt
Hammons P. Hepner
SHARP LAW LLP
4820 W. 75th Street
Prairie Village, KS 66208
Telephone: (913) 901-0505
rsharp@midwest-law.com
idiel@midwest-law.com
gwright@midwest-law.com
blandt@midwest-law.com
hhepner@midwest-law.com

Counsel for All Plaintiffs

Defendants’ Counsel:
                                                 Earl E. DeBrine, Jr.
Devora W Allon                                   Modrall, Sperling, Roehl, Harris & Sisk, PA
Kirkland & Ellis LLP                             P.O. Box 2168
601 Lexington Avenue                             Albuquerque, NM 87103-2168
New York, NY 10022                               505-848-1800
212-446-5967                                     Fax: 505-848-1891
Fax: 212-446-4900                                Email: edebrine@modrall.com
Email: devora.allon@kirkland.com

Jeffrey J Zeiger
Kirkland & Ellis LLP
300 North LaSalle
Chicago, IL 60654
312-862-3237
Fax: 312-862-2200
Email: jzeiger@kirkland.com

Counsel for Defendant Occidental Petroleum
Corporation




                                             2
Daniel Rosenbaum, et al. v. Permian Resources Corp., et al., Case No. 2:24-cv-00103-MMD-MDC

  Served via First Class Mail
  Plaintiffs’ Counsel:

  Aaron Joseph Marks                                      Arielle S. Wagner
  Cohen Milstein Sellers & Toll PLLC                      Brian D. Clark
  225 Cadman Plaza East                                   Rebecca A. Peterson
  Brooklyn, NY 11201                                      Stephen J. Teti
  718-613-2414                                            Lockridge Grindal Nauen PLLP
  Email: amarks@cohenmilstein.com                         100 Washington Avenue S, Suite 2200
                                                          Minneapolis, MN 55401
  Artemus W. Ham , IV                                     612-596-4055
  Erica Entsminger                                        Email: aswagner@locklaw.com
  Robert T. Eglet                                         bdclark@locklaw.com
  Eglet Adams Eglet Ham Henriod                           rapeterson@locklaw.com
  400 S. 7th Street, Suite 400                            sjteti@locklaw.com
  Las Vegas, NV 89101
  702-450-5400                                            Martin Muckleroy
  Email: aham@egletlaw.com                                6077 S Fort Apache Rd, Suite 140
  eentsminger@egletlaw.com                                Las Vegas, NV 89148
  reglet@egletlaw.com                                     702-909-0097
                                                          Fax: 702-938-4065
  Benjamin Brown                                          Email: martin@muckleroylunt.com
  Brent W. Johnson
  Nina Jaffe-Geffner                                      Counsel for Plaintiff These Paws Were Made for
  Robert W. Cobbs                                         Walkin’ LLC
  Cohen Milstein Sellers & Toll PLLC
  1100 New York Avenue NW, 5th Floor                      Daniel O. Herrera
  Washington, DC 20005                                    Jennifer W. Sprengel
  bjohnson@cohenmilstein.com                              Kaitlin Naughton
  njaffegeffner@cohenmilstein.com                         Cafferty Clobes Meriwether & Sprengel LLP
  rcobbs@cohenmilstein.com                                135 South LaSalle Street, Suite 3210
                                                          Chicago, IL 60603
  Counsel for Plaintiff Andrew Caplen Installations       312-782-4880
  LLC, Edward Alegretti                                   Email: dherrera@caffertyclobes.com
                                                          jsprengel@caffertyclobes.com
  Christopher Bateman                                     knaughton@caffertyclobes.com
  Michael Eisenkraf
  Cohen Milstein Sellers & Toll PLLC                      Matthew W. Ruan
  88 Pine Street                                          Douglas A. Millen
  New York, NY 10005                                      Freed Kanner London & Millen LLC
  212-838-7797                                            100 Tri-State International, Suite 128
  Email: cbateman@cohenmilstein.com                       Lincolnshire, IL 60069
                                                          Telephone: (224) 632-4500
  Counsel for Plaintiff Edward Alegretti                  mruan@fklmlaw.com
                                                          dmillen@fkmlaw.com
                                                          Counsel for Plaintiff Barbara MacDowell and Richard
                                                          MacDowell, Laurie Olsen Santillo, Richard Beaumont

                                                      3
Carmen Medici
Daniel J. Brockwell                                    Christopher A Turtzo
Fatima Brizuela                                        Morris, Sullivan, Lemkul & Pitegoff
Patrick Coughlin                                       3960 Howard Hughes Parkway, Suite 420
Scott&Scott Attorneys at Law LLP                       Las Vegas, NV 89169
600 W. Broadway, Suite 3300                            702-405-8100
San Diego, CA 92101                                    Fax: 702-405-8101
619-233-4565                                           Email: turtzo@morrissullivanlaw.com
Fax: 619-233-0508
Email: cmedici@scott-scott.com                         Counsel for Plaintiffs Daniel Rosenbaum, Reneldo
dbrockwell@scott-scott.com                             Rodriguez, and Thomas Caron
fbrizuela@scott-scott.com
pcoughlin@scott-scott.com

Isabella De Lisi
Michael Srodoski
Patrick J. McGahan
Zachary Krane
Scott&Scott Attorneys at Law LLP
156 S Main St., PO Box 192
Colchester, CT 06415
860-537-5537
idelisi@scott-scott.com
msrodoski@scott-scott.com
pmcgahan@scott-scott.com

Patrick James Rodriguez
Scott&Scott Attorneys at Law LLP
The Helmsley Building
230 Park Avenue, 17th Floor
New York, NY 10169
212-233-6444
prodriguez@scott-scott.com

Counsel for Plaintiffs Daniel Rosenbaum, Reneldo
Rodriguez, and Thomas Caron

Defendants Counsel:
Adam L Hudes                                           Lawrence E. Buterman
Vinson & Elkins LLP                                    Latham & Watkins LLP
2200 Pennsylvania Ave., NW, Suite 500-                 555 Eleventh St, NW, Ste 1000
West                                                   Washington, DC 20004
Washington, DC 20037                                   202-637-2200
202-639-6632                                           Fax: 202-637-2201
Fax: 202-879-8822                                      Email: lawrence.buterman@lw.com
Email: ahudes@velaw.com




                                                   4
Craig P. Seebald                                    Marguerite Sullivan
Vinson & Elkins                                     Latham & Watkins
2200 Pennsylvania Avenue NW, Suite 500              555 Eleventh Street NW, Suite 1000
West                                                Washington, DC 20004
Washington, DC 20037                                202-637-2200
202-639-6585                                        Fax: 202-637-2201
Email: cseebald@velaw.com                           Email: marguerite.sullivan@lw.com

Dylan I. Ballard                                    J Colby Williams
Vinson & Elkins                                     Campbell & Williams
555 Mission Street, Suite 2000                      710 South Seventh Street, Ste. A
San Francisco, CA 94105                             Las Vegas, NV 89101
415-979-6955                                        702-382-5222
Email: dballard@velaw.com                           Fax: 702-382-0540
                                                    Email: jcw@cwlawlv.com
Kristen T. Gallagher
McDonald Carano Wilson LLP                          Counsel for Defendant Chesapeake Energy Corporation
2300 W Sahara Avenue, Suite 1200
Las Vegas, NV 89102                                 Christopher E. Ondeck
(702) 873-4100                                      Proskauer Rose LLP
Email: kgallagher@mcdonaldcarano.com                1001 Pennsylvania Ave, N.W., Suite 600 South
                                                    Washington, DC 20004
Michael W. Scarborough                              202-416-5865
Vinson & Elkins LLP                                 condeck@proskauer.com
555 Mission Street, Suite 2000
San Francisco, CA 94105                             Kyle A. Casazza
415-979-6935                                        Proskauer Rose LLP
Email: mscarborough@velaw.com                       2029 Century Park East
                                                    Los Angeles, CA 90067
Stephen M. Medlock                                  310-284-5677
Vinson & Elkins LLP                                 kcasazza@proskauer.com
2200 Pennsylvania Ave., NW, Suite 500
West                                                Michael Burrage
Washington, DC 20037                                Whitten Burrage
202-639-6578                                        512 N. Broadway, Suite 300
Email: smedlock@velaw.com                           Oklahoma City, OK 73102
                                                    405-516-7800
Counsel for Defendant Permian Resources Corp.       Fax: 405-516-7859
                                                    Email: mburrage@whittenburragelaw.com
Jeffrey J. Amato
Winston & Strawn LLP                                Stephen R. Chuk
200 Park Avenue                                     Proskauer Rose LLP
New York, NY 10166                                  1001 Pennsylvania Ave, N.W., Suite 600 South
212-294-4685                                        Washington, DC 20004
Fax: 212-294-4700                                   202-416-6697
Email: jamato@winston.com                           schuk@proskauer.com




                                                5
Jeffrey L Kessler                                    Robert J Cassity
Winston & Strawn LLP                                 Holland & Hart LLP
200 Park Avenue                                      9555 Hillwood Dr Fl 2
New York, NY 10166                                   Las Vegas, NV 89134
212-294-4698                                         702-669-4600
Email: jkessler@winston.com                          Fax: 702-669-4650
                                                     Email: bcassity@hollandhart.com
Thomas M. Melsheimer
Winston & Strawn                                     Counsel for Defendant Continental Resources Inc.
2121 N. Pearl Street, 9th Floor
Dallas, TX 75201                                     Christopher P. Wilson
214-453-6401                                         Baker Botts LLP
Email: tmelsheimer@winston.com                       700 K Street NW
                                                     Washington, DC 20001
Thomas B Walsh, IV                                   202-639-7739
Winston & Strawn                                     Email: christopher.wilson@bakerbotts.com
2121 N. Pearl Street, Suite 900
Dallas, TX 75201                                     John M. Taladay
214-453-6500                                         Baker Botts LLP
Fax: 214-453-6400                                    700 K Street NW
Email: TWalsh@winston.com                            Washington, DC 20001
                                                     202-639-7909Email:
Leif Reid                                            john.taladay@bakerbotts.com
Lewis Roca Rothgerber LLP
One East Liberty Street, Suite 300                   Kelsey Ann Paine
Reno, NV 89501                                       Baker Botts LLP
775-321-3415                                         700 K Street, NW
Fax: 775-823-2929                                    Washington, DC 20001
Email: lreid@lewisroca.com                           202-639-7738
                                                     kelsey.paine@bakerbotts.com
Kristen L. Martini
Lewis Roca Rothgerber Christie LLP                   Megan Elizabeth Tankel
One E. Liberty Street, Suite 300                     Baker Botts L.L.P
Reno, NV 89501                                       700 K Street, NW
775-823-2900                                         Washington, DC 20001
Fax: 775-823-2929                                    202-639-1107
Email: kmartini@lewisroca.com                        megan.tankel@bakerbotts.com

Counsel for Defendant Diamondback Energy, Inc.       Debra Spinelli
                                                     Pisanelli Bice PLLC
David Alexander Papirnik                             400 South 7th Street, Suite 300
51 W 52nd Street                                     Las Vegas, NV 89101
New York, NY 10019                                   702-214-2100
347-604-7963                                         Email: DLS@pisanellibice.com
Email: dapapirnik@wlrk.com




                                                 6
Kevin S. Schwartz                              James J. Pisanelli
Wachtell, Lipton, Rosen & Katz                 Pisanelli Bice PLLC
51 West 52nd Street                            400 South 7th Street, Suite 300
New York, NY 10019                             Las Vegas, NV 89101
212-403-1062                                   702-214-2100
Email: kschwartz@wlrk.com                      Fax: 702-214-2101
                                               Email: lit@pisanellibice.com
Nicholas J Santoro
Holley Driggs                                  Counsel for Defendant EOG Resources, Inc.
300 South 4th Street, Ste 1600
Las Vegas, NV 89101                            Akhil Kumar Gola
702-791-0308                                   Kirkland & Ellis LLP
Fax: 702-791-1912                              1301 Pennsylvania Avenue NW
Email: nsantoro@nevadafirm.com                 Washington, DC 20004
                                               202-879-5000
Margarita Elias                                akhil.gola@kirkland.com
Holley Driggs
300 South 4th Street, Ste 1600                 Devora Allon
Las Vegas, NV 89101                            Kirkland & Ellis LLP
702-791-0308                                   601 Lexington Avenue
Fax: 702-791-1912                              New York, NY 10022
Email: melias@nevadafirm.com                   212-446-5967
                                               Email: devora.allon@kirkland.com
Counsel for Defendant Hess Corporation
                                               Jeffrey J. Zeiger
Boris Bershteyn                                Kirkland & Ellis LLP
Skadden, Arps, Slate, Meagher & Flom LLP       300 North LaSalle
One Manhattan West                             Chicago, IL 60654
New York, NY 10001-8602                        312-862-3237
212-735-3834                                   Email: jzeiger@kirkland.com
Email: boris.bershteyn@skadden.com
                                               Bradley T Austin
Jay P. Srinivasan                              Snell & Wilmer LLP
Gibson, Dunn & Crutcher LLP                    3883 Howard Hughes Pkwy., Ste. 1100
333 South Grand Ave                            Las Vegas, NV 89169
Los Angeles, CA 90017-3197                     702-784-5200
jsrinivasan@gibsondunn.com                     Fax: 702-784-5252
                                               Email: baustin@swlaw.com
Karen Hoffman Lent
Skadden, Arps, Slate, Meagher & Flom LLP       Counsel for     Defendant   Occidental      Petroleum
One Manhattan West                             Corporation
New York, NY 10001-8602
212-735-3000
Email: karen.lent@skadden.com




                                           7
Samuel Grant Liversidge
Gibson Dunn & Crutcher LLP
333 South Grand Avenue
Los Angeles, CA 90071
213-229-7420
Fax: 213-229-6420
Email: sliversidge@gibsondunn.com

Stephen C. Whittaker
Gibson, Dunn & Crutcher LLP
3161 Michelson Dr., Ste. 1200
Irvine, CA 92612
949-451-4337
Fax: 949-475-4647
Email: cwhittaker@gibsondunn.com

W. West Allen
Howard & Howard Attorneys PLLC
3800 Howard Hughes Parkway, Suite 1000
Las Vegas, NV 89169
702-667-4843
Fax: 702-567-1568
Email: wwa@h2law.com

F. Thomas Edwards
Holley Driggs
300 S 4th, Suite 1600
Las Vegas, NV 89101
702-792-0308Fax: 702-791-1912
Email: tedwards@nevadafirm.com

Counsel for Defendant Pioneer Natural Resources
Company




                                                  8
John Mellor v. Permian Resources Corp., et al., Case No. 2:24-cv-00253-MMD-MDC

  Served via First Class Mail
  Plaintiffs’ Counsel:

  Mark J Bourassa                                Raymond S. Levine
  Valerie Christian                              Todd Schneider
  Jenifer A. Fornetti                            Schneider Wallace Cottrell Konecky LLP
  The Bourassa Law Group, LLC                    2000 Powell Street, Suite 1400
  2350 W Charleston Blvd, Suite 100              Emeryville, CA 94608
  Las Vegas, NV 89102                            rlevine@schneiderwallace.com
  (702) 851-2180                                 tschneider@schneiderwallace.com
  Fax: (702) 851-2189
  Email: mbourassa@blgwins.com                   Stuart George Gross
  vchristian@blgwins.com                         Travis Smith
  jfornetti@blgwins.com                          Gross Klein PC
                                                 The Embarcadero, Pier 9, Suite 100
  Matthew Sinclair Weiler                        San Francisco, CA 94111
  The Joseph Saveri Law Firm, Inc.               415-671-4628
  555 Montgomery Street, Suite 1210              Email: sgross@grosskleinlaw.com
  San Francisco, CA 94111                        tsmith@grosskleinlaw.com
  415-500-6800 x513
  Email: mweiler@saverilawfirm.com

  Defendants’ Counsel:
  Boris Bershteyn                                Bradley T Austin
  Skadden, Arps, Slate, Meagher & Flom LLP       Snell & Wilmer LLP
  One Manhattan West                             3883 Howard Hughes Pkwy., Ste. 1100
  New York, NY 10001-8602                        Las Vegas, NV 89169
  212-735-3834                                   702-784-5200
  Email: boris.bershteyn@skadden.com             baustin@swlaw.com

  Jay P. Srinivasan                              Counsel for   Defendant   Occidental   Petroleum
  Gibson, Dunn & Crutcher LLP                    Corporation
  333 South Grand Ave
  Los Angeles, CA 90017-3197
  213-229-7520
  jsrinivasan@gibsondunn.com

  Karen Hoffman Lent
  Skadden, Arps. Slate, Meagher & Flom LLP
  One Manhattan West
  New York, NY 10001
  212-735-3276
  karen.lent@skadden.com




                                             9
Samuel Grant Liversidge
Gibson Dunn & Crutcher LLP
333 South Grand Avenue
Los Angeles, CA 90071
213-229-7420
Fax: 213-229-6420
Email: sliversidge@gibsondunn.com

Stephen C. Whittaker
Gibson, Dunn & Crutcher LLP
3161 Michelson Dr., Ste. 1200
Irvine, CA 92612
949-451-4337
Fax: 949-475-4647
Email: cwhittaker@gibsondunn.com

W. West Allen
Howard & Howard Attorneys PLLC
3800 Howard Hughes Parkway, Suite 1000
Las Vegas, NV 89169
702-667-4843
Fax: 702-567-1568
Email: wwa@h2law.com

Counsel for Defendant Pioneer Natural Resources
Company




                                                  10
Patrick Brown, et al. v. Permian Resources Corp., et al., Case No. 1:24-cv-00430-LF-KK

  Served via First Class Mail
  Plaintiffs’ Counsel:

  Carl Malmstrom
  Wolf Haldenstein Adler Freeman & Herz
  LLC
  111 W. Jackson Blvd., Suite 1700
  Chicago, IL 60604
  312-984-0000
  Fax: 212-686-0114
  Email: malmstrom@whafh.com

  Counsel for Defendants has not appeared
  in this case.




                                                11
Barbara MacDowell, et al. v. Permian Resources Corp., et al., Case No. 2:24-cv-00325-MMD-
MDC
  Served via First Class Mail
  Plaintiffs’ Counsel:

  Diana J. Zinser                                      Christopher Turtzo
  Spector Roseman & Kodroff, P.C.                      Littler Mendelson, PC
  2001 Market Street, Suite 3420                       3960 Howard Hughes Parkway, Suite 300
  Philadelphia, PA 19103                               Las Vegas, NV 89109
  215-496-0300                                         702-405-8100
  Fax: 215-496-6611                                    Email: turtzo@morrissullivanlaw.com
  Email: dzinser@srkattorneys.com
                                                       Garrett D. Blanchfield , Jr
  Jeffrey L. Spector                                   Reinhardt Wendorf & Blanchfield
  Spector Roseman & Kodroff, P.C.                      80 South 8th Street, Suite 900
  2001 Market Street, Suite 3420                       Minneapolis, MN 55402
  Philadelphia, PA 19103                               651-287-2100
  215-496-0300                                         Email: g.blanchfield@rwblawfirm.com
  Fax: 215-496-6611
  Email: jspector@srkattorneys.com                     Roberta A Yard
                                                       Reinhardt Wendorf & Blanchfield
  William G Caldes                                     80 South 8th Street, Suite 900
  Spector Roseman & Kodroff, P.C.                      Minneapolis, MN 55402
  2001 Market Street, Suite 3420                       651-287-2100
  Philadelphia, PA 19103                               Email: r.yard@rwblawfirm.com
  215-496-0300
  Fax: 215-496-6611                                    Matthew T Dushoff
  Email: bcaldes@srkattorneys.com                      Saltzman Mugan Dushoff
                                                       1835 Village Center Circle
  William A Gonzales                                   Las Vegas, NV 89134
  Saltzman Mugan Dushoff                               702-405-8500
  1835 Village Center Circle                           Fax: 702-405-8501
  Las Vegas, NV 89134                                  Email: mdushoff@nvbusinesslaw.com
  702-405-8500
  Fax: 702-405-8501
  Email: wgonzales@nvbusinesslaw.com

  Counsel for all Plaintiffs

  Defendants’ Counsel:
  W. West Allen
  Howard & Howard Attorneys PLLC
  3800 Howard Hughes Parkway
  Suite 1000
  Las Vegas, NV 89169
  702-667-4843
  Fax: 702-567-1568
  Email: wwa@h2law.com
  Counsel for Pioneer Natural Resources Company

                                                  12
Dated: May 9, 2024        Respectfully submitted,

                          /s/Warren T. Burns
                          Warren T. Burns
                          Daniel H. Charest
                          BURNS CHAREST LLP
                          900 Jackson Street, Suite 500
                          Dallas, TX 75202
                          Telephone.: (469) 904-4550
                          wburns@burnscharest.com
                          dcharest@burnscharest.com


                          Attorneys for Plaintiffs Matthew E. Foos,
                          Andrew A. Hund, Michael B. Ackerman, Jarrod
                          Johnson, and Mackey and Sons Inc.




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